         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 1 of 23



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                          )
PRESIDENT AND FELLOWS OF                  )
HARVARD COLLEGE; and                      )
MASSACHUSETTS INSTITUTE OF                )
TECHNOLOGY,                               )
                                          )
Petitioners-Plaintiffs,                   )
                                          )   Civil Action No. 20-cv-11283-ADB
       v.                                 )
                                          )
UNITED STATES DEPARTMENT                  )
OF HOMELAND SECURITY, et. al.             )
                                          )
Respondents-Defendants,                   )
_________________________________________ )

   OPPOSITION TO MOTION FOR A TEMPORARY RESTRAINING ORDER AND
               REQUEST FOR A PRELIMINARY INJUNCTION


   I.      INTRODUCTION
        Petitioners ask this court to rewrite the black-letter requirements of the law and bind the

enforcement authority of the federal government, perversely as a consequence of the leniency

recently exercised when U.S. Immigration and Customs Enforcement (ICE) temporarily

permitted nonimmigrant students to pursue a full course of study through 100% online classes

because of the COVID-19 pandemic. Petitioners’ request subverts the deference afforded

administrative agencies in complex and interrelated fields like immigration enforcement, which

requires coordination between multiple federal agencies including the U.S. Department of State

and several components within the U.S. Department of Homeland Security, including U.S.

Customs and Border Protection (CBP), U.S. Citizenship and Immigration Services (USCIS), and

ICE. Petitioners merely disagree with the exercise of ICE’s discretion, but such discretion is not



                                                  1
           Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 2 of 23



a violation of law. Therefore, Petitioner’s motion for a temporary restraining order must be

denied.

Background

          Nonimmigrants who are admitted to the United States under a F-1 or M-1 visa are subject

to the requirements set forth in 8 U.S.C. § 1101(f), (m) and 8 U.S.C. § 1184. See also 8 C.F.R. §

214.2(f), (m). A nonimmigrant who does not abide by the terms of his or her nonimmigrant

status may be removable under INA § 237(a)(1)(C)(i), 8 U.S.C. § 1227(a)(1)(C)(i) for having

“failed to maintain the nonimmigrant status . . . or to comply with the conditions of such status.”

Federal law requires DHS to track and monitor U.S. educational institutions that enroll

nonimmigrant students, as well as the students themselves while they reside in the United States

in an F or M nonimmigrant status. Section 641 of the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996 (IIRIRA), Pub. L. No. 104-208, Div. C, 110 Stat. 3009-

546 (September 30, 1996), authorized the creation of a program to collect current and ongoing

information provided by schools and exchange visitor programs regarding F, M, and J

nonimmigrants during the course of their stay in the United States, using electronic reporting

technology to the fullest extent practicable. IIRIRA further authorized DHS to certify schools

participating in F or M student enrollment. DHS carries out these obligations through ICE’s

Student and Exchange Visitor Program (SEVP) which administers the Student and Exchange

Visitor Information System (SEVIS). Over the past two decades, Congress has repeatedly

stressed the importance of monitoring nonimmigrant students noting national security concerns.

See e.g., the Uniting and Strengthening America by Providing Appropriate Tools Required to

Intercept and Obstruct Terrorism Act (USA PATRIOT Act) of 2001, Pub. L. No. 107-56 (Oct.

26, 2001); Enhanced Border Security and Visa Entry Reform Act of 2002, (EBSVERA) Pub. L.



                                                 2
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 3 of 23



No. 107-173, § 501 (May 14, 2002). Significantly, EBSVERA instituted a two-year

recertification process for all SEVP-certified schools requiring them to demonstrate compliance

with recordkeeping and reporting requirements relating to schools and nonimmigrant students.

These statutes and their detailed requirements demonstrate clear congressional intent that ICE

closely monitor schools and students through SEVIS and vigorously enforce all regulatory

requirements.

       Federal regulations promulgated in accordance with these authorities set forth the

conditions of F and M nonimmigrant status, which require pursuit of a full course of study. See

8 C.F.R. § 214.2(f)(5), (m)(5) (discussing maintenance of a “full course of study” as a

requirement to maintain nonimmigrant status). The regulations also provide, however, that most

F-1 nonimmigrant students may take “no more than the equivalent of one class or three credits

per session, term, semester, trimester, or quarter” online or through distance education as part of

the full course of study requirement. Id. § 214.2(f)(6)(i)(G). An online or distance education

course is defined as “a course that is offered principally through the use of television, audio, or

computer transmission including open broadcast, closed circuit, cable, microwave, or satellite,

audio conferencing, or computer conferencing.” Id. F-1 students in a language study program

and M-1 students may count no online or distance education courses toward a full course of

study. 8 C.F.R. § 214.2(f)(6)(i)(G), (m)(9)(v). So, significantly, while some students are not

permitted to take any online study, no nonimmigrant student may exceed the regulatory limit

prescribed by § 214.2(f)(6)(i)(G).

       Ensuring compliance with these requirements is shared by U.S. Department of State

(issuing F-1 and M-1 nonimmigrant student visas and administering the J-1 program), U.S.

Customs and Border Protection (admission), and ICE, specifically the SEVP. SEVP provides



                                                  3
          Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 4 of 23



approval and oversight to schools authorized to enroll F and M nonimmigrant students and gives

guidance to both schools and students about the nonimmigrant student regulatory requirements.

SEVP is part of the National Security Investigations Division and acts as a bridge for

government organizations that have an interest in information on nonimmigrants whose primary

reason for coming to the United States is to study.

COVID-19

        ICE, in coordination with DHS and other federal, state and local agencies has

implemented a variety of programs, including altered enforcement priorities and adapted agency

policies and practices in response to the unprecedented global pandemic of the novel coronavirus

disease 2019(COVID-19). The goals of these adaptations are to ensure safety of the public and

help detect and slow the spread of the virus. ICE recognizes this is an extremely fluid situation

and provides updates on www.ice.gov to provide the public of notice of these policies as they

relate to multiple facets of ICE operations.

SEVP Policies

        At issue in this case is a July 6 policy announcement, which provided notice to schools

and nonimmigrant students of how ICE would exercise its discretion beginning in the fall of

2020 in light of the impact of COVID-19 on educational institutions. See Broadcast Message:

Fall 2020 Guidance (July 2020), https://www.ice.gov/coronavirus.1 However, the July 6 policy

announcement is but the latest discretionary decision in a series of actions by SEVP in response

to the COVID-19 pandemic.




1
 SEVP Broadcast messages are available at https://www.ice.gov/coronavirus under the tab “nonimmigration
students and SEVP-certified schools” in the “guidance documents” section. Also relevant is the “Frequently Asked
Questions” tab.

                                                        4
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 5 of 23



        Beginning on January 29, 2020, SEVP issued a broadcast message in response to several

inquiries regarding COVID-19 and the potential impact on F and M nonimmigrant students. See

Broadcast Message: COVID-10 F and M Nonimmigrants (Jan. 2020). The broadcast message

focused on international travel and permissible reductions of courses if medically authorized.

The broadcast also reminded schools of flexibilities already built into the federal regulations to

address various needs of nonimmigrant students in light of COVID-19. The January guidance

allows for impacted parties to submit comments to the broadcast message and clearly states that

it “is not a substitute for applicable legal requirements, nor is it itself a rule or a final action by

SEVP.”


        On March 9, 2020, SEVP issued another broadcast message, superseding the January

broadcast, advising F and M nonimmigrant students, SEVP-certified schools, and other

stakeholders that ICE would be offering certain flexibilities to nonimmigrant students who were

seeking to maintain their status in light of the COVID-19 pandemic. See Broadcast Message:

COVID-19 and potential Procedural Adaptations for F and M Nonimmigrant Students (Mar.

2020). Appendix 1 of the March 9 broadcast message explains the requests that SEVP made of

schools in March to maintain integrity of the nonimmigrant student program in accordance with

these flexibilities. SEVP also released “COVID-19: Guidance for SEVP Stakeholders” on March

13, 2020, to provide clarification on the effects of the March 9 announcement.

        Specifically, in the March 9 Broadcast, 2019, SEVP announced that it would temporarily

decline to enforce the online course limitation provisions in the federal regulations due to

changing practices of schools nationwide due to COVID-19. SEVP’s guidance emphasized that

this guidance was temporary and applied only to students currently enrolled in a program of

study not new or initial students who were outside the United States at the time the


                                                    5
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 6 of 23



announcement was made. However, the March 9 Broadcast still required that “schools and

students should document any decisions [to adapt procedures and policies to address COVID-19]

made and be able provide this information to SEVP upon request.” The Broadcast also explains

“SEVP recognizes that the COVID-19 crisis is fluid and rapidly changing. For that reason, SEVP

is not requiring prior notice of procedural adaptations, leaving room for schools to comply with

state or local health emergency declarations. However, as noted in the Appendix, SEVP must be

notified of procedural adaptations within ten business days of the change.” The Appendix sets

forth the reporting requirements schools must comply with, including requiring schools to

provide detailed information within 10 business days if the school decides to provide online

instruction, utilize an alternative physical location, or whether the school will temporarily close.

       As with the January broadcast, the March broadcast provides an opportunity for

comments and reiterated that it “is not a substitute for applicable legal requirements, nor is it

itself a rule or a final action by SEVP.” The March broadcast also explicitly indicates “SEVP is

monitoring this situation closely. The program will supplement this guidance with additional

information and will adjust guidance as needed.”

       On March 13, SEVP issued an addendum to the March 9th guidance, entitled “COVID-

19: Guidance for SEVP Stakeholders” in order to respond to several inquiries received by SEVP

after issuance of the March 9 Broadcast. Relevant to this case, SEVP advised, “If a school closes

temporarily but offers online instruction or another alternative learning procedure, nonimmigrant

students should participate in online or other alternate learning procedures and remain in active

status in SEVIS. Schools must notify SEVP of COVID-19 procedural changes within 10

business days. Given the extraordinary nature of the COVID-19 emergency, SEVP will allow F-

1 and/or M-1 students to temporarily count online classes towards a full course of study in excess



                                                  6
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 7 of 23



of the limits stated in 8 CFR 214.2(f)(6)(i)(G) and 8 CFR 214.2(m)(9)(v). This temporary

provision is only in effect for the duration of the emergency and in accordance with the

procedural change documents filed in a timely manner to SEVP.” The supplemental guidance

concludes with the following:

       NOTE: Due to the fluid nature of this difficult situation, this guidance may be
       subject to change. SEVP will continue to monitor the COVID-19 situation and
       will adjust its guidance as needed.

       On March 24, 2020, SEVP issued a supplemental broadcast message identifying the

location of publicly available COVID-19 related guidance and reminding stakeholders to “notify

SEVP of any procedural adaptation due to COVID-19 within 10 business days of the change.”

The March 24 guidance also allows for individuals to provide comments, advises the situation

remains fluid and includes the same disclaimer as both the January and March 9 Broadcast

messages.

       On April 15, 2020, SEVP issued a supplemental broadcast message, reminding

stakeholders to “submit their procedural modifications to SEVP within 10 business days of the

date of determining the change, in accordance [with the March 9] Broadcast.” At the time of the

broadcast, SEVP had received 6,000 operational modification documents from schools across the

nation. The April Broadcast includes the same opportunity to comment and disclaimer as in

previous broadcasts.

       On July 6, 2020, ICE issued a press release and SEVP issued a broadcast message, which

outlines the temporary procedural adaptions which shall be implemented for the fall 2020

semester. The Broadcast recognizes “[t]here will still be accommodations to provide flexibility

to schools and nonimmigrant students, but as many institutions across the country reopen, there

is a concordant need to resume the carefully balanced protections implemented by federal



                                                7
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 8 of 23



regulations.” The goal of this announcement was to provide advance notice to SEVP

stakeholders that a temporary rule change would be forthcoming that would impact schools and

students beginning in the Fall 2020 semester. “This message is intended to provide additional

time to facilitate the implementation of these procedures.” The July 6 Broadcast contains the

same disclaimer as on other broadcast messages.

       SEVP also issued a Frequently Asked Questions (FAQ) section, which explains the

March 9 guidance is currently in effect through the end of the summer semesters. The FAQ also

provides an explanation justifying the change in policy for the fall semesters, namely “to

maximize flexibility for students to continue their studies, while minimizing the risk of

transmission of COVID-19 by not admitting students into the country who do not need to be

present to attend classes in-person.”

       One of the main policy decisions Petitioners take issue within this case is the following

guidance:

      “Students attending schools operating entirely online may not take a full online
       course load and remain in the United States. The U.S. Department of State will
       not issue visas to students enrolled in schools and/or programs that are fully
       online for the fall semester nor will U.S. Customs and Border Protection permit
       these students to enter the United States. Active students currently in the United
       States enrolled in such programs must depart the country or take other measures,
       such as transferring to a school with in-person instruction to remain in lawful
       status or potentially face immigration consequences including, but not limited to,
       the initiation of removal proceedings.”

This guidance reflects the coordination between SEVP, CBP and the U.S. Department of State

regarding nonimmigrant F and M visa holders and the interrelationship between these agencies




                                                 8
          Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 9 of 23



in enforcing immigration law as applied to nonimmigrant students. In addition, the July 6

broadcast message set forth several reporting requirements.2

        Students will not be permitted to enter or remain in the United States to attend schools

who are conducting classes entirely online, consistent with the current regulatory limitations

found at 8 C.F.R. 214.2(f), (m), but they are not barred from continuing to attend all classes at

these schools from abroad, and their SEVIS records may remain in active status while studying

online, outside the United States. SEVP’s guidance for Fall 2020 will take effect at the start of a

school’s defined fall semester. The reporting requirement is essential and is the primary means to

ensure students and schools are following the statutory and regulatory requirements of their

nonimmigrant status.

        The requirement to depart is grounded in statute. INA § 237(a)(1)(C)(i), 8 U.S.C. §

1227(a)(1)(C)(i). If students fail to maintain their nonimmigrant student status, they must depart

or risk being placed in removal proceedings. Id. This is not new. The regulation explicitly

excludes 100% online course loads. Petitioners do not argue ICE should revert to the black letter

of the regulation, but instead contest ICE’s discretionary decision to temporarily adjust its

enforcement posture while nation is in the grips of the COVID-19 pandemic. The July 6 policy

announcement is nothing more than a reminder that students must depart should they violate the

terms of their nonimmigrant student visa.

        SEVP guidance has repeatedly advised stakeholders that the agency’s position during the

pandemic is fluid. Given the volatile nature of the pandemic, SEVP guidance warns all schools



2
 First, schools must reissue Forms I-20 to all students within 21 business days of July 6 to reflect any relevant
changes in the student’s program enrollment and information, pursuant to 8 C.F.R. 214.3(g)(2). Second, schools
that offer entirely online classes or programs or will not reopen for the fall 2020 semester must complete an
operational change plan and submit it to SEVP later than Wednesday, July 15, 2020. (3) All other operational plans
implemented by the school must be reported within 10 days of the change. (4) For all students attending schools in
the United States this fall 2020, the school must issue new Forms I-20 to each student.

                                                        9
          Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 10 of 23



and students - the guidance may be altered or superseded at any time. At no time did the agency

issue a final rule limiting SEVP’s discretionary enforcement authority during the pandemic.

          Instead, SEVP continues to adapt and adjust enforcement priorities in accordance with

the law and as a proper exercise of the agency’s discretion. Petitioners’ motion for a temporary

restraining order seeks to freeze a single policy decision in time. If granted, the agency will be

unable to respond to new developments of this unprecedented health crisis until Petitioners, or

other similarly situated private entities, deem appropriate. The court should deny the motion for a

temporary restraining order.


    II.        PETITIONERS ARE NOT ENTITLED TO A TEMPORARY RESTRAINING
               ORDER OR ANY INJUNCTIVE RELIEF


          A.     LEGAL STANDARD

          Preliminary injunctive relief, whether sought through a TRO or a request for preliminary

injunction, “is an extraordinary and drastic remedy, one that should not be granted unless the

movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S.

968, 972 (1997). Preliminary injunctions are designed to preserve the relative positions of the

parties until a determination of the merits can be reached. See Verhoeven v. Brunswick School

Committee, 207 F.3d 1, 3 (1st Cir. 1999). This form of relief “is never awarded as of right.” Peoples

Fed. Sav. Bank v. People's United Bank, 672 F.3d 1, 8-9 (1st Cir. 2012) (quoting Voice of the Arab

World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011)). A judge should use

his or her authority to grant such injunctive relief “sparingly.” Mass. Coal. of Citizens with

Disabilities v. Civil Def. Agency & Office of Emergency Preparedness, 649 F.2d 71, 76 n.7 (1st

Cir. 1981).




                                                 10
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 11 of 23



         The burden of proof requires the moving party to demonstrate that: (1) he has a substantial

likelihood of success on the merits of his claims; (2) that he will suffer irreparable harm unless the

injunction issues; (3) that his harm outweighs any damage to the opposing party; and (4) that the

injunction would not be adverse to the public’s interest. See Winter v. NRDC, 555 U.S. 7, 20

(2008); Planned Parenthood League of Mass. v. Bellotti, 641 F.2d 1006, 1009 (1st Cir. 1981). The

Supreme Court requires the moving party to demonstrate that the irreparable harm is likely – not

just possible – before a preliminary injunction may issue. Winter, 555 U.S. at 22.

         In order to receive a preliminary injunction, Petitioners must demonstrate likely success on

the merits of their case. See Esso Standard Oil Co. v. Monroig-Zayas, 445 F.3d 13, 18 (1st Cir.

2006).    If   they   cannot   do   so,   “the   remaining   factors   ‘become     matters   of   idle

curiosity,’…insufficient to carry the weight of this extraordinary relief on their own.” Chambers

v. NH Prison, 562 F. Supp. 2d 197, 199 (D.N.H. 2007) (quoting Ross-Simons of Warwick, Inc. v.

Baccarat, Inc., 102 F.3d 12, 18-19 (1st Cir. 1996)). Importantly, even if this Court finds that

Petitioners are likely to succeed on the merits of their claims, “unless [Petitioners] also

demonstrate[] [they] will suffer irreparable harm without the requested relief,” a preliminary

injunction will not issue. Id. (referencing Ross-Simons of Warwick, Inc., 102 F.3d at 19). The two

– likelihood of success and irreparable harm – must “must be juxtaposed and weighed in tandem.”

Ross-Simons of Warwick, Inc., 102 F.3d at 19.

         B. Petitioners are unlikely to succeed on the merits of their claims .

                1. Petitioners are unlikely to succeed on the merits of their APA claims, as
                Respondents’ decisions were not arbitrary or capricious and were made after
                considering important aspects of the problem before the agency.

         Petitioners are unlikely to succeed on the merits of their APA claims because arguments

that the agency did not consider important aspects of the COVID-19 emergency are likely to fail.



                                                  11
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 12 of 23



The agency’s guidance to its stakeholders was not contained solely in the broadcast messages

published regularly beginning as early as January 29, 2020, but also included information on the

ICE websites, including https://www.ice.gov/coronavirus , and in the FAQ documents posted on

the site, both of which were updated regularly as well. The FAQ documents have all included the

following statement:

       Note: SEVP continues to actively monitor COVID-19 and provide up-to-date information
       to stakeholders, including designated school officials (DSOs) and F and M students. Due
       to the fluid nature of this situation, the answers in this document may be subject to
       change. Refer to ICE.gov/COVID19 for the most up-to-date version of this FAQ.

Frequently Asked Questions for SEVP Stakeholders about COVID-19, pg.1

(https://www.ice.gov/doclib/coronavirus/covid19faq.pdf). This notice clearly indicates the

agency’s continuing evaluation of the COVID-19 situation as it developed, and the agency’s

posture as it changed. This alone demonstrates that ICE considered at least two important

aspects of the situation that Petitioners fail to recognize, the fluid nature of the COVID-19

pandemic and the urgent need for stakeholders, including schools, to have access to guidance

regarding the impact of the pandemic. In the agency’s July 6 policy announcement, it states

“DHS is adopting a new approach to carefully balance public health concerns against the varied

approaches that schools and universities are taking to combat the spread of COVID-19.” Id. Here

again, ICE has indicated additional factors of critical importance that were considered, and

ultimately balanced, in the approach up to and including the July 6 policy announcement, public

health concerns and the variety of approaches schools were taking as a result of such concerns.

Both by providing notice that its guidance was subject to change, and regularly updating,

expanding upon, and adjusting its guidance to stakeholders, ICE has demonstrated that it not

only considered important aspects of the emergency it faced, but also that it nimbly reacted to




                                                12
          Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 13 of 23



changes in the emergency, shifted its posture accordingly, and responded to its stakeholders’

questions and requests for additional information to keep them appropriately advised.

         Further, the content of the July 6 policy announcement, demonstrates ICE’s reasoned

consideration of both its obligations to fulfill its congressional directive to vigorously enforce

statutory and regulatory requirements, and the need for U.S. educational institutions to maintain

some measure of flexibility in their modes of instruction, given the ongoing and volatile nature

of the COVID-19 pandemic. If ICE had not considered the schools impacted by its decision, or

the vast differences among them regarding plans for reopening in the fall, perhaps the agency

would have completely rescinded its March 9, 2020 broadcast message and reverted back to

enforcement of the black letter of the regulations, returning to business as usual as before the

COVID-19 emergency. To have done so would have severely limited the options for schools,

limiting F-1 students to count no more than one class or three credits per semester or term

offered fully online or by distance education towards the full course of study requirement for

maintaining their F nonimmigrant status. See 8 C.F.R. § 214.2(f)(6)(i)(G). Instead, ICE made the

decision to exercise its discretion to “modify” its posture announced in its March guidance. See

July 6 broadcast message, pg. 1. The agency offered three possible scenarios, including offering

students the ability to exceed the regulatory limitations on online study at schools employing a

hybrid approach of offering both in person and online classes.3 This agile approach to the Fall

2020 semester demonstrates that ICE considered and balanced the equities of schools, foreign

students, and the agency’s need to uphold and enforce the immigration laws and regulations


3
 ICE also offered two other scenarios for schools with plans to reopen in the fall: 1) for schools intending to operate
entirely online, foreign students would be able to fully participate in these programs from outside the United States,
and 2) for schools intending to operate as normal, with fully in-person classes, nonimmigrant students in the United
States would be bound by existing regulations limiting F students, with the exception of F nonimmigrant students
enrolled in English language programs, to count one class or three credits of online or distance education study
towards the full course of study regulatory requirements for such students. M nonimmigrant students, in accord with
existing regulations, would also be prohibited from engaging in online study under this scenario.

                                                          13
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 14 of 23



within the United States. Any further reliance interests that schools may have had in the March

13, 2020 guidance are necessarily inconsequential, as the guidance clearly indicates that it is only

temporary, and SEVP-approved schools and foreign students are required to be aware of the

obligations and restrictions governing their actions under federal regulations. See COVID-19

Guidance for SEVP Stakeholders, (March 13, 2020).

       Importantly, Petitioners’ argument, that the agency should have considered certain factors

before making the July 6 policy announcement, is based on a fallacy, that the government’s

decision suddenly “forced” students holding F-1 visas to attend classes in person as a condition

of maintaining their nonimmigrant status. See Pl. Compl. at 16. In fact, the regulations governing

the maintenance of nonimmigrant status for aliens present in the United States pursuant to an F

visa, are settled and long-standing, and have required that students complete their program of

study in person, rather than fully online or through distance education, for close to twenty years.

See 8 C.F.R. § 214.2(f)(6)(i)(G). In the May 16, 2002, Notice of Proposed Rulemaking, which

proposed to add subsection (G) to 8 CFR 214.2(f)(6)(i), the Immigration and Naturalization

Service explained, “[w]hile on-line and distance education programs can be highly innovative

means to augment or even conduct an educational program, the entry of a foreign student into the

United States becomes unnecessary if the bulk of the program does not require the student's

physical presence. Therefore, this rule proposes to limit the enrollment of F-1 and M-1 students

in courses that are on-line or through distance education programs and do not require the

student's actual presence.” 67 FR 34862 at 34866 (emphasis added). A solely online program of

study provides a nonimmigrant student with enormous flexibility to be present anywhere in the

United States for up to an entire academic term, whether that location has been reported to the

government, which raises significant national security concerns. Additionally, such programs



                                                14
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 15 of 23



could allow a nonimmigrant student to conduct activities other than full-time studying, which

undermines the purpose of the F-1 nonimmigrant visa. There has been, and continues to be, a

clear intent in the regulations governing nonimmigrant students that such students continue to

meet the congressionally-mandated requirements to be considered F nonimmigrant students,

including that such students sought “to enter the United States temporarily and solely for the

purpose of pursuing… a course of study.” 8 U.S.C. § 1101(a)(15)(F)(i).

               2. Petitioners are unlikely to succeed on the merits of their APA claims, as
               Respondents’ actions were not arbitrary or capricious and were supported
               by a reasoned basis and justification.

       Petitioners’ arguments that the agency did not offer a rationale or justification for the July

6 broadcast message are also likely to fail. The Supreme Court has made clear that, “[t]he scope

of review under the ‘arbitrary and capricious’ standard is narrow and a court is not to substitute

its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of United States, Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Additionally, it is appropriate to “uphold a

decision of less than ideal clarity if the agency's path may reasonably be discerned.” Id. (citing

Bowman Transp. Inc. v. Arkansas-Best Freight System, 419 U.S. 281, 286 (1974)). There is a

clear correlation between the existing obligations of aliens present in the country for the purposes

of studying at a U.S. educational institution, and the requirements outlined by ICE in the July 6

policy announcement. Rather than completely rescinding the March guidance and reverting to

business as usual with respect to schools and foreign students, ICE announced a measured

transition to begin a move toward reopening schools and allowing students to return to

classrooms. Petitioners acknowledge that ICE justified its shift in posture by stating, “as many

institutions across the country reopen, there is a concordant need to resume the carefully

balanced protections implemented by federal regulations.” July 6 broadcast message, pg. 1.



                                                 15
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 16 of 23



Further rationale and justifications were provided when ICE explained that as the Fall 2020

semester was rapidly approaching, and the agency learned more about the variety of reopening

plans schools were developing, the decision had to be made to strike some balance that would

allow the flexibility that schools would need to allow foreign students to continue to study, while

minimizing the risk of further COVID-19 transmission from new arrivals. See Frequently Asked

Questions for SEVP Stakeholders about Guidance for the Fall 2020 Semester, at 1,

https://www.ice.gov/doclib/sevis/pdf/sevisFall2020_FAQ.pdf. As such, ICE offered its rationale

and justification for the decision throughout the July 6 policy announcement. It is not necessary

that Petitioners agree with the government’s rationale for it to be considered sufficient for the

purposes of meeting APA requirements.

               3. The July policy is exempt from the APA’s notice and comment
               requirements.

       The July 6 policy announcement was not subject to the APA’s notice and comment

requirements because it was not a legislative rule, but, at most, a statement of policy. The APA

provides an exception to its notice-and-comment requirements for “general statements of

policy.” 5 U.S.C. § 553(b)(A). A statement of policy “genuinely leaves the agency and its

decisionmakers free to exercise discretion” when applying the policy and does not create a

“binding norm.” American Bus. Ass’n v. United States, 627 F.2d 525, 529 (D.C. Cir. 1980).

       In this case, ICE’s July 6 policy announcement was not a rule subject to the notice-and-

comment requirements of § 553, as it was not intended to have any legal effect or impose any

binding norms. The July 6 policy announcement—by its own express terms—was intended

solely to provide advance notice to the public that, through a forthcoming publication in the

Federal Register, DHS would be implementing a revised policy. Through the July 6 Directive,

DHS announced that it would publish a “Temporary Final Rule” to address the interplay of


                                                 16
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 17 of 23



schools offering online coursework due to COVID-19 and the ability of F-1 nonimmigrants to

maintain their status. The July 6 directive was publicly released and sent directly to SEVP-

certified schools as a Broadcast Message to give stakeholders the opportunity to prepare in

advance for a regulatory change that would likely require immediate action. Nothing in the July

6 policy announcement itself requires ICE to take administrative compliance actions against

schools that do not complete reporting in accordance with the deadlines laid out.4 Nor does the

July 6 policy announcement mandate that ICE initiate removal proceedings against F-1

nonimmigrants for failure to abide by the terms of their nonimmigrant status. DHS would most

likely defer from taking such action until a regulatory change was properly made in accordance

with section 553 of the APA.

        Implicit in Plaintiffs’ argument here is the contention that DHS’s March 2020

announcement was a modification of federal regulations that could only be subsequently

modified through the APA’s notice-and-comment process. Yet, the July 6 policy announcement

has no legal effect and establishes no such binding norms. DHS’s March 2020 announcement

was issued as a function of DHS’s “absolute discretion” to decline to bring enforcement actions

against F-1 students and certified schools who would have been operating in violation of the

federal regulations when shifting to a fully online instruction model in light of the COVID-19

emergency. See Heckler v. Chaney, 470 U.S. 821, 831 (1985) (holding that “an agency’s

decision not to prosecute or enforce, whether through civil or criminal process, is a decision

generally committed to an agency’s absolute discretion”). Thus, the July 6 policy announcement



4
 To the extent that the July 6 Directive sets deadlines for SEVP-certified schools to report changes to their
operational plans and re-issue I-20s, these deadlines were intended to provide DHS with enough time to obtain and
digest the information necessary to uphold its statutory obligations to collect, verify, and monitor information on
those in F-1 status. See 8 U.S.C. § 1372. For instance, without knowing whether a school would be open for the
Fall 2020 semester, DHS would lack the information needed to determine whether an F-1 student seeking admission
to the United States to pursue a course of study at that school were eligible for admission.

                                                        17
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 18 of 23



did not implement a change to the federal regulations regarding the amount of online coursework

F-1 nonimmigrants could take and remain in compliance with the terms of their status. As stated

in the July 6 broadcast message, the actual “procedures and responsibilities” comprising the

regulatory change would be published “in the near future as a Temporary Final Rule in the

Federal Register.” But the July 6 policy announcement itself was released “to provide additional

time to facilitate the implementation of these procedures.”

       C. Petitioners have not demonstrated they will suffer irreparable harm and the
       balance of equities favors defendants.

       Irreparable injury is “an injury that cannot adequately be compensated for either by a

later-issued ... injunction, after a full adjudication on the merits, or by a later-issued damages

remedy.” Rio Grande Cmty. Health Ctr., Inc. v. Rullan, 397 F.3d 56, 76 (1st Cir. 2005).

Petitioners must “demonstrate that irreparable injury is likely in the absence of an injunction,”

not merely that it is a possibility. Winter, 555 U.S. at 375, 129 S.Ct. 1093 (emphasis in original),

see also Nunes v. Mass. Dep't of Corr., 766 F.3d 136, 145 (1st Cir. 2014). And when irreparable

harm is lacking, that suffices to defeat the current motion. Plaintiffs fail to meet this standard.

       Petitioners take issue with the change in policy regarding fully online coursework.

Petitioners argue this policy disincentivizes universities from providing online course work

despite “hundreds of universities, including Harvard and MIT, [who] have taught their students

remotely.” TRO Mot. at 1. But the July policy does not require universities to cease providing

online learning classes. In fact, the policy explicitly recognizes that universities may choose to

do so, and if so, students choosing a 100% online learning program do not need to be physically

present in the United States.

       Petitioners express frustration in this change of policy but the frustration is due to a self -

perceived requirement to provide increased in-person classes in order to comply with the July


                                                   18
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 19 of 23



policy. TRO Mot. at 5. That is not so. Petitioners may continue with their curriculum as they see

fit, admitting into the fall semester the same number of students as anticipated. The July policy

announcement only requires fully online nonimmigrant students continue their online studies

from abroad and schools to timely report programmatic changes to SEVP. The July policy

announcement does not restrain Petitioners educational programs, which they intend to provide

“robust and meaningful learning experiences through online media.” TRO Mot. at 6. Nonimmigrant

students may still participate in this learning experience and maintain an active SEVIS status.

Petitioners do not explain how physical presence in the United States is required for one to

participate in a 100% online learning experience. Nor do they explain how the lack of physical

presence by their nonimmigrant students participating in the online programs would negatively

impact other students, who are also participating in the online course, or the administration of their

set curriculum.

        This argument also cuts against Petitioner’s claim the diversity of their student body will

decline as a result of the July policy announcement as students may still choose to participate in this

“robust and meaningful experience” through online learning. Petitioners have not demonstrated, nor

do they argue, if they implemented a 100% online curriculum, fewer students would choose to attend

Harvard or MIT. Petitioners argue instead, if nonimmigrant students are not permitted to be present

in the United States, nonimmigrant students may not choose to attend Harvard or MIT. TRO Mot. at

17-18. But Plaintiffs cannot argue there is a correlation between physical presence in the United

States and the quality of education these reputable organizations provide if they are requiring the

majority of current students, U.S. citizens, Lawful Permanent Residents (LPR) and nonimmigrants

alike, to participate in online learning classes. Arguably, if Harvard and MIT decided to move to

100% online programs, their institutions may be less appealing to U.S. citizen or LPR students as

well, but Petitioners do not argue their operations have been adversely impacted by less U.S. citizen


                                                   19
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 20 of 23



or LPR student enrollment. Therefore, Petitioners have not demonstrated an irreparable injury to their

educational operations if nonimmigrant students who choose to participate in 100% online

coursework may not be admitted into or permitted to remain in the United States.

       Without proof of irreparable injury to Harvard or MIT’s operations or student diversity,

Petitioners have failed to meet their burden to demonstrate “likely” irreparable harm to warrant the

temporary restraining order.

       Finally, the balance of equities weighs against issuing a temporary restraining order

preventing SEVP from exercising its discretion in enforcing the statutory and regulatory

requirements of nonimmigrant student programs. Any order that enjoins a governmental entity

from enforcing actions taken pursuant to statutes enacted by the duly elected representatives of

the people constitutes an irreparable injury that weighs heavily against the entry of injunctive

relief. See New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977). It is also

well-settled that the public interest in enforcement of United States immigration laws is

significant. United States v. Martinez-Fuerte, 428 U.S. 543, 556-58 (1976); Landon v. Plasencia,

459 U.S. 21, 34 (1982); Blackie’s House of Beef, Inc. v. Castillo, 659 F.2d 1211, 1221 (D.C. Cir.

1981) (“The Supreme Court has recognized that the public interest in enforcement of the

immigration laws is significant.”). A TRO would irreparably harm the United States and the

public. The public has an interest in ICE, as well as CBP and the U.S. Department of State, being

allowed to enforce immigration laws without undue interference in the manner, and in

accordance with the statutes, proscribed by Congress- which includes requiring schools to

meticulously monitor and report the educational conditions of their nonimmigrant students so

ICE may ensure compliance with immigration laws. The alleged administrative inconveniences do

not outweigh the harm that would be imposed by “injunctive relief [that] deeply intrudes into the

core concerns of the executive branch,” Adams v. Vance, 570 F.2d 950, 954 (D.C. Cir. 1978), and

                                                  20
         Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 21 of 23



undermines the “efficient administration of the immigration laws….” Innovation Law Lab v.

McAleenan, 924 F.3d 503, 510 (9th Cir. 2019).

IV. PETITIONERS LACK ARTICLE III STANDING ON BEHALF OF STUDENTS

         The majority of Petitioners’ alleged harms draws from the alleged impact to

nonimmigrant students. But Petitioners lack third-party standing to bring claims on behalf of

these unidentified students. “Standing to sue is a doctrine rooted in the traditional understanding

of a case or controversy. The doctrine developed in our case law to ensure that federal courts do

not exceed their authority as it has been traditionally understood.” Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1547 (2016). The “irreducible constitutional minimum of standing” contains three

requirements. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). First, a plaintiff must

have suffered an “injury in fact”—an invasion of a legally protected interest which is (a)

concrete and particularized, and (b) “actual or imminent, not ‘conjectural’ or ‘hypothetical.’” Id.

Second, the injury has to be “fairly . . . trace[able] to the challenged action of the defendant, and

not . . . the result [of] the independent action of some third party not before the Court.” Id. Third,

it must be “likely,” as opposed to merely “speculative” that the injury will be “redressed by a

favorable decision.” Id. at 560-61 (internal citations omitted). “Because standing is fundamental

to the ability to maintain a suit, and because ... the complainant [has] the burden of clearly

alleging facts sufficient to ground standing, ... where standing is at issue, heightened specificity

is obligatory at the pleading stage.” United States v. AVX Corp., 962 F.2d 108, 115 (1st Cir.

1992).

         Petitioners allege the July policy announcement negatively impacts the students who

attend these universities, but Petitioners may not raise alleged harms on behalf of students. TRO

Opp. at 6-7. As a general rule, a party, organizational or otherwise, generally “lacks a judicially

cognizable interest in the prosecution or nonprosecution of another,” Linda R.S. v. Richard D.,

                                                  21
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 22 of 23



410 U.S. 614, 619 (1973), including “enforcement of the immigration laws,” Sure-Tan, Inc. v.

NLRB, 467 U.S. 883, 897 (1984). The First Circuit requires litigants who are asserting third-

party standing to demonstrate the following: [1] that the litigant personally has suffered an injury

in fact that gives rise to a sufficiently concrete interest in the adjudication of the third party's

rights; [2] that the litigant has a close relationship to the third party; and [3], that some hindrance

exists that prevents the third party from protecting its own interests.” Council of Ins. Agents &

Brokers v. Juarbe–Jimenez, 443 F.3d 103, 108 (1st Cir.2006) (internal quotations omitted).

Petitioners do not specify a nonimmigrant student who has suffered an injury-in-fact who is also

hindered from protecting their own interests. Petitioners merely allege a variety of potential

burdens some nonimmigrant students may or may not experience if required to continue their

100% online education outside the United States. Petitioners also make no attempt to

demonstrate a “close relationship” between the school and any nonimmigrant student to satisfy

the requirements for third-party standing. As Petitioners cannot establish third-party standing on

behalf of nonimmigrant students, these alleged harms cannot be the basis to issue a temporary

restraining order in this case. Petitioners are educational organizations and the only harms to

themselves that they allege are speculative and relate to the desire to implement additional in-

person classes and an alleged loss to the diversity of their student body. Petitioners allegations

regarding the speculative impact on nonimmigrant students is not properly before the court as

Petitioners lack standing to bring such claims.




                                                   22
        Case 1:20-cv-11283-ADB Document 92 Filed 07/13/20 Page 23 of 23



       V. CONCLUSION

The court should deny Petitioners’ request to enter a temporary restraining order preventing the

implementation of the July policy announcement.

                                                    Respectfully submitted,

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                                                    United States Attorney


Dated: July 13, 2020                           By: /s/ Rayford A. Farquhar
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                                               23
